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Tiffany Perry

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April 15, 2024
To The Honorable Jennifer C. Boal:

My name is Tiffany Perry. Walter has been my significant other for over ten years.
However, I have known Walter since I was sixteen years old - nearly thirty years. My history
with Walter goes back to being kids and trying our best to survive our traumatic childhoods
while growing up in Lowell. Walter and I have built a life together that we have vowed to share
with our families.

My earliest memories of Walter are of him giving me lunch money for school when my
single mother of four couldn’t, watching me graduate from Lowell High School, and making
sure I always had something to eat. Growing up in Lowell was hard. It’s been through the Grace
of God, that we have had one another to lean on. He is my life’s greatest blessing, my best friend,
and the well from which I draw so much strength and hope from. He is the love of my life.

My most recent memories of Walter include having him on the sideline when I ran my
third Boston Marathon in 2014. After witnessing the Boston Marathon bombings in 2013, I
experienced the crippling grip of PTSD and fell into a deep depression. I found myself at the
very rock bottom of my existence. Walter stood by my side to be whatever I needed to make it
through each day. His love and loyalty never wavered. Walter was also there when my beloved
grandfather died. Who I took care of during the last four years of his life. Walter walked the
streets of Commonwealth Ave in Boston with my family to witness me graduate from Boston
University. And then again in 2022, when I obtained my Master’s Degree in Clinical Social
Work from Simmons University. With his support and encouragement, I am now a Licensed
Certified Social Worker in Massachusetts and work for the Lowell Public School System. My
heart fills with joy when | think of how proud he is of me and what I’ve made of my life. All that
is good in me, has so much to do with him. We have witnessed one another turn forty years old
and in 2022, bought our first home together. A moment we never saw possible when we were
kids.

Although we no longer reside in Lowell, we have stayed committed to giving back to the
city. Each week, Walter and I go out and bring food and clothing to the homeless and spread love
and positivity - listening to the stories of our neighbors. Walter only sees the good in people,
always saying how everyone deserves another chance, no matter how many times they fail. I am
a Social Worker at a K-8 school in Lowell and Walter has gone above and beyond to help the
city’s most underserved and high risk children. Anytime I share a horrific story about a student’s
life, his automatic response is, “How can I help them? What do they need?” His heart is so big
and so full of love.

EXHIBIT 3
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There have been so many life experiences Walter and I have shared. When | first met him
as a teenager, Walter had just lost his father to lung cancer. In 2018, Walter’s mother
unexpectedly passed away from a brain aneurysm, while backing out of her driveway. Walter
rushed to Boston in a snowstorm to remain by her side until she took her last breath. The grief is
still heavy for him. On Friday, April 19, 2024, we are burying Walter’s mother’s ashes with his
late father and two younger nephews.

Walter has worked really hard to be whatever his family needs him to be. He is a son,
brother, uncle, and dear friend to so many people. Truly, he’s the most caring and loyal man just
about anyone knows. Walter’s love and commitment to my family has inspired me to grow closer
to my own family. Walter is a beacon of love, support, and loyalty to myself and our families. He
has softened my heart and shown me what it means to be loved by a good man. He has stood by
my side during times I didn’t think I deserved it. He constantly showed me how worthy I am of
living a good life. Walter’s faith in God has grown stronger as he’s witnessed my own devotion
to the Catholic faith.

I know we are all capable of making the wrong choices and none of us are without fault
and sin. And sometimes, when the pressures of life feel like they can swallow us whole, it creates
panic and anxiety and can lead us to make those not so good decisions. But I also know, in the
deepest part of our hearts, there is a goodness God has created in each of us. Even the worst of us
are still worthy of love and mercy, in the eyes of God. Walter is a nonviolent person. He has
never owned or possessed a firearm, he has never lost his temper or threatened to harm another
person or himself. He has loved those who seem to deserve it the least. He has helped people
everyone else has given up on. He has lived his life as a man of forgiveness and a man that will
always be there to pick someone up when they’re down.

I understand that Your Honor will decide soon whether to release Walter on bail while he
faces these serious charges. I urge you to do so. If he is released, Walter will live with me at our
home. I will do everything I can to ensure that he complies fully with whatever conditions the
Court may see fit to impose on him. Thank you for your consideration.

Sincerely,

Tiffany Pérry :
